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                           UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

   UNITED STATES OF AMERICA,               :
                                           :
            Appellee,                      :
                                           :       USCA No. 19-1553; No. 19-1952
   v.                                      :       USDC No. 14-cr-10227-PBS-1
                                           :
   CAMERON LACROIX,                        :
                                           :
            Appellant.                     :
                                           :

                             APPELLATE DEFENSE COUNSEL’S
                         THIRD MOTION TO WITHDRAW FROM CASE

        COMES NOW Anthony D. Martin, Esquire, court appointed appellate defense

   counsel for CAMERON LACROIX. Counsel moves pursuant to Fed.R.App.P 27 and

   Local Rule 46.6(c)(4) in seeking an order permitting his withdrawal from this matter for

   reasons more fully set forth below. The government takes no position on the motion.

                                        Procedural Posture

        The Court issued Judgment on this matter on June 3rd, 2021 and the Writ of

   Mandamus issued on June 24th, 2021.

                                    Basis for Relief Requested

   1. Counsel carefully reviewed the client’s Appellate File; which includes three separate

   cases.

   2. After having taken yet another look at this matter, it is counsel’s opinion that filing a

   petition for writ of certiorari would be frivolous in this instance.
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   3. Counsel attempted to send a copy of this Motion and letter to Mr. Cameron Lacroix

   via e-mail, but it was returned undeliverable.(Atch 1) Counsel does not have any other

   address for Mr. Lacroix.

   4. The letter explains the nature of the motion and his rights and obligations thereafter.

   5. Counsel has also sent a copy of the Motion to government counsel and has been

   advised that the government takes no position on the Motion.

                                              Prayer

      WHEREFORE, counsel respectfully requests that the court relieve him of any further

   responsibility or obligation on behalf of the appellant in this matter.



                                           Respectfully submitted:
                                           ANTHONY D. MARTIN, PC


                                    By:    / S /Anthony D. Martin
                                           Anthony D. Martin, Esquire
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                                           7474 Greenway Center Drive, Ste 150
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                               CERTIFICATE OF SERVICE

      I HEREBY CERTIFY and AFFIRM that a copy of the foregoing Third Motion to
   Withdraw, was sent via regular mail to the Appellant on this Sunday, August 29, 2021 at
   the address appearing below:

                                  Cameron Lacroix
                                  clacroix@gmail.com


                                 Mackenzie A. Queenin
                                 United States Attorney's Office MA
                                 1 Courthouse Way, Suite 9200
                                 Boston, MA 02210


                                  Donald Campbell Lockhart, AUSA
                                  Office of the United States Attorney
                                  1 Courthouse Way, Ste 9200
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   / S    /Anthony D. Martin




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